Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 1 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 2 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 3 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 4 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 5 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 6 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 7 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 8 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 9 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 10 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 11 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 12 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 13 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 14 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 15 of 16
Case 1:03-cv-11206-NMG Document 115 Filed 03/18/05 Page 16 of 16
